Case 1:11-cv-04395-JHR-JS Document 7 Filed 09/30/11 Page 1 of 12 PageID: 31



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     CORPORATION, BURLINGTON COAT FACTORY
15   INVESTMENT HOLDINGS, INC. and BURLINGTON COAT
     FACTORY HOLDINGS, INC.
16
17                                       UNITED STATES DISTRICT COURT

18                                          DISTRICT OF NEW JERSEY

19
20   STEVEN GOODMAN, individually and on                 Case No. 11-CV-4395 (JHR)(JS)
     behalf of all other persons similarly situated,
21                                                       DEFENDANTS’ ANSWER TO
                            Plaintiff,                   PLAINTIFF’S AMENDED
22                                                       COMPLAINT AND JURY DEMAND
             v.
23
     BURLINGTON COAT FACTORY
24   WAREHOUSE CORPORATION,
     BURLINGTON COAT FACTORY
25   INVESTMENT HOLDINGS, INC. and
     BURLINGTON COAT FACTORY
26   HOLDINGS, INC.,

27                          Defendants.

28
                                                               DEFENDANTS’ ANSWER TO PLAINTIFF’S FIRST
                                                                                AMENDED COMPLAINT
                                                                                  09-CV-08061-CAS (JCX)
     OHS WEST:261343713.2
Case 1:11-cv-04395-JHR-JS Document 7 Filed 09/30/11 Page 2 of 12 PageID: 32

 1                    Defendants Burlington Coat Factory Warehouse Corporation, Burlington Coat
 2   Factory Investment Holdings, Inc. and Burlington Coat Factory Holdings, Inc. (collectively
 3   “Defendants”) hereby answer Plaintiff Steven Goodman’s First Amended Complaint (the
 4   “Complaint”) as follows:
 5                                           INTRODUCTION
 6           1.       Answering paragraph 1 of the Complaint, Defendants admit that Burlington is a
 7   nationwide retail department store chain that sells high-quality, branded apparel. Except as so
 8   admitted, Defendants deny each and every allegation of this paragraph in the Complaint.
 9                                      NATURE OF THE ACTION
10           2.       Answering paragraph 2 of the Complaint, Defendants admit that Plaintiff alleges
11   on behalf of himself and other current and former assistant store managers, including operations
12   and merchandising assistant store managers, employed by Defendants in the United States, who
13   elect to opt into this action pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §
14   216(b) (the “Collective Action Class”), that they are: (i) entitled to unpaid wages from
15   Defendants for all hours worked by them as well as for overtime work for which they did not
16   receive overtime premium pay, as required by law, and (ii) entitled to liquidated damages
17   pursuant to the FLSA, 29 U.S.C. §§ 201 et seq. Except as so admitted, Defendants deny each and
18   every allegation of this paragraph in the Complaint.
19                                    JURISDICTION AND VENUE
20           3.       Answering paragraph 3 of the Complaint, Defendants admit all allegations therein.
21           4.       Answering paragraph 4 of the Complaint, Defendants admit all allegations therein.
22           5.       Answering paragraph 5 of the Complaint, Defendants deny all allegations therein.
23           6.       Answering paragraph 6 of the Complaint, Defendants admit all allegations therein.
24           7.       Answering paragraph 7 of the Complaint, Defendants admit that venue is proper in
25   this district pursuant to 28 U.S.C. § 1391. Except as so admitted, Defendants deny each and
26   every allegation of this paragraph in the Complaint.
27           8.       Answering paragraph 8 of the Complaint, Defendants admit all allegations therein.
28   ///


                                                                  DEFENDANTS’ ANSWER TO PLAINTIFF’S FIRST
                                                                                   AMENDED COMPLAINT
                                                                                     09-CV-08061-CAS (JCX)
     OHS WEST:261343713.2
Case 1:11-cv-04395-JHR-JS Document 7 Filed 09/30/11 Page 3 of 12 PageID: 33

 1                                             THE PARTIES
 2           9.       Answering paragraph 9 of the Complaint, Defendants are without information and
 3   belief as to the validity of the statements in this paragraph. Defendants deny each and every
 4   allegation of this paragraph on that basis.
 5           10.      Answering paragraph 10 of the Complaint, Defendants admit that Plaintiff was
 6   employed by Burlington Coat Factory of Florida LLC, and that Burlington Coat Factory
 7   Warehouse Corporation is the parent company of Burlington Coat Factory of Florida LLC.
 8   Defendants further admit that Plaintiff was employed by Burlington Coat Factory of Florida LLC
 9   from in or about August 2005 until August 2009, as an assistant store manager at Burlington Coat
10   Factory retail stores located in Hallandale and Coral Springs, Florida. Except as so admitted,
11   Defendants deny each and every allegation of this paragraph in the Complaint.
12           A.       Defendants
13           11.      Answering paragraph 11 of the Complaint, Defendants deny all allegations therein.
14           12.      Answering paragraph 12 of the Complaint, Defendants admit all allegations
15   therein.
16           13.      Answering paragraph 13 of the Complaint, Defendants admit all allegations
17   therein.
18           14.      Answering paragraph 14 of the Complaint, Defendants admit all allegations
19   therein.
20           15.      Answering paragraph 15 of the Complaint, Defendants admit all allegations
21   therein.
22                              COLLECTIVE ACTION ALLEGATIONS
23           16.      Answering paragraph 16 of the Complaint, Defendants admit that Plaintiff seeks,
24   pursuant to 29 U.S.C. § 216(b), to prosecute his FLSA claims as a collective action on behalf of
25   all persons who are or were formerly employed by Defendants in the United States at any time
26   since July 28, 2008 to the entry of judgment in this case (the “Collective Action Period”) as
27   assistant store managers, including Operations and Merchandising Assistant Store Managers, who
28   were non-exempt employees within the meaning of the FLSA and who did not receive any


                                                                 DEFENDANTS’ ANSWER TO PLAINTIFF’S FIRST
                                                    -2-                           AMENDED COMPLAINT
                                                                                    09-CV-08061-CAS (JCX)
     OHS WEST:261343713.2
Case 1:11-cv-04395-JHR-JS Document 7 Filed 09/30/11 Page 4 of 12 PageID: 34

 1   overtime (the “Collective Action Members”). Except as so admitted, Defendants deny each and
 2   every allegation of this paragraph in the Complaint.
 3           17.      Answering paragraph 17 of the Complaint, Defendants deny all allegations therein.
 4           18.      Answering paragraph 18 of the Complaint, Defendants deny all allegations therein.
 5           19.      Answering paragraph 19 of the Complaint, Defendants deny all allegations therein.
 6           20.      Answering paragraph 20 of the Complaint, Defendants deny all allegations therein.
 7           21.      Answering paragraph 21 of the Complaint, Defendants are without information
 8   and belief as to the validity of the statements in this paragraph. Defendants deny each and every
 9   allegation of this paragraph on that basis.
10                                       STATEMENT OF FACTS
11           22.      Answering paragraph 22 of the Complaint, Defendants admit all allegations
12   therein.
13           23.      Answering paragraph 23 of the Complaint, Defendants deny all allegations therein.
14           24.      Answering paragraph 24 of the Complaint, Defendants deny all allegations therein.
15           25.      Answering paragraph 25 of the Complaint, Defendants deny all allegations therein.
16           26.      Answering paragraph 26 of the Complaint, Defendants deny all allegations therein.
17           27.      Answering paragraph 27 of the Complaint, Defendants deny all allegations therein.
18           28.      Answering paragraph 28 of the Complaint, Defendants deny all allegations therein.
19           29.      Answering paragraph 29 of the Complaint, Defendants deny all allegations therein.
20           30.      Answering paragraph 30 of the Complaint, Defendants deny all allegations therein.
21           31.      Answering paragraph 31 of the Complaint, Defendants deny all allegations therein.
22                  FIRST CLAIM FOR RELIEF: FAIR LABOR STANDARDS ACT
23           32.      Answering paragraph 32 of the Complaint, Defendants incorporate herein by
24   reference their responses to paragraphs 1-31 above.
25           33.      Answering paragraph 33 of the Complaint, the allegations set forth in this
26   paragraph assert no factual contentions or assert only legal conclusions and, therefore, Defendants
27   neither admit nor deny the contentions.
28           34.      Answering paragraph 34 of the Complaint, the allegations set forth in this


                                                                   DEFENDANTS’ ANSWER TO PLAINTIFF’S FIRST
                                                     -3-                            AMENDED COMPLAINT
                                                                                      09-CV-08061-CAS (JCX)
     OHS WEST:261343713.2
Case 1:11-cv-04395-JHR-JS Document 7 Filed 09/30/11 Page 5 of 12 PageID: 35

 1   paragraph assert no factual contentions or assert only legal conclusions and, therefore, Defendants
 2   neither admit nor deny the contentions.
 3           35.      Answering paragraph 35 of the Complaint, Defendants admit all allegations
 4   therein.
 5           36.      Answering paragraph 36 of the Complaint, Defendants are without information
 6   and belief as to the validity of the statements in this paragraph. Defendants deny each and every
 7   allegation of this paragraph on that basis.
 8           37.      Answering paragraph 37 of the Complaint, Defendants deny all allegations therein.
 9           38.      Answering paragraph 38 of the Complaint, Defendants deny all allegations therein.
10           39.      Answering paragraph 39 of the Complaint, Defendants deny all allegations therein.
11           40.      Answering paragraph 40 of the Complaint, Defendants deny all allegations therein.
12           41.      Answering paragraph 41 of the Complaint, Defendants deny all allegations therein.
13                                      AFFIRMATIVE DEFENSES
14           Defendants assert the following affirmative defenses to the Complaint:
15                                             FIRST DEFENSE
16                                        (Failure to State a Claim)
17           1.       As a separate defense to the Complaint, Defendants allege that the Complaint fails
18   to state a claim upon which relief may be granted.
19                                          SECOND DEFENSE
20                                                 (Laches)
21           2.       As a separate defense to the Complaint, Defendants allege that some or all of the
22   claims asserted in the Complaint are barred by the equitable doctrine of laches and/or
23   acquiescence.
24                                            THIRD DEFENSE
25                                                 (Waiver)
26           3.       As a separate defense to the Complaint, Defendants allege that some or all of the
27   claims asserted in the Complaint are barred by the equitable doctrine of waiver.
28   ///


                                                                   DEFENDANTS’ ANSWER TO PLAINTIFF’S FIRST
                                                     -4-                            AMENDED COMPLAINT
                                                                                      09-CV-08061-CAS (JCX)
     OHS WEST:261343713.2
Case 1:11-cv-04395-JHR-JS Document 7 Filed 09/30/11 Page 6 of 12 PageID: 36

 1                                          FOURTH DEFENSE
 2                                                 (Estoppel)
 3           4.       As a separate defense to the Complaint, Defendants allege that some or all of the
 4   claims asserted in the Complaint are barred by the equitable doctrine of estoppel.
 5                                            FIFTH DEFENSE
 6                           (Unclean Hands and/or After-Acquired Evidence)
 7           5.       As a separate defense to the Complaint, Defendants allege that some or all of the
 8   claims asserted in the Complaint may be barred by the equitable doctrine of unclean hands and/or
 9   after-acquired evidence, or in the alternative these doctrines cut off or reduce Plaintiff’s and/or
10   the purported classes’ damages.
11                                            SIXTH DEFENSE
12                                         (Statute of Limitations)
13           6.       As a separate defense to the Complaint, Defendants allege that the Complaint, and
14   each purported claim contained therein, may be barred by the applicable statutes of limitation.
15                                          SEVENTH DEFENSE
16                                     (Proximate Cause of Damages)
17           7.       As a separate defense to the Complaint, Defendants allege that, should it be
18   determined that Plaintiff and/or the purported classes have been damaged, then said damages
19   were proximately caused by their own conduct.
20                                            EIGHT DEFENSE
21                             (Requirements for Class or Collective Action)
22           8.       As a separate defense to the Complaint, Defendants allege that Plaintiff cannot
23   satisfy the requirements for a class or collective action under federal law.
24                                            NINTH DEFENSE
25                                            (Lack of Standing)
26           9.       As a separate defense to the Complaint, Defendants allege that the Complaint is
27   barred to the extent that Plaintiff lacks standing to raise some or all of the claims of the alleged
28   classes of persons whom Plaintiff purports to represent.


                                                                    DEFENDANTS’ ANSWER TO PLAINTIFF’S FIRST
                                                     -5-                             AMENDED COMPLAINT
                                                                                       09-CV-08061-CAS (JCX)
     OHS WEST:261343713.2
Case 1:11-cv-04395-JHR-JS Document 7 Filed 09/30/11 Page 7 of 12 PageID: 37

 1                                           TENTH DEFENSE
 2                                               (Exemption)
 3           10.      As a separate defense to the Complaint, Defendants allege that the Complaint is
 4   barred because Plaintiff and some of the alleged classes of persons which Plaintiff purports to
 5   represent are properly classified as exempt executive and/or administrative employees from the
 6   overtime requirements of federal law.
 7                                         ELEVENTH DEFENSE
 8              (Compromise, Settlement, Waiver, Accord, Satisfaction, Set-Off, Release)
 9           11.      As a separate defense to the Complaint, Defendants allege that Plaintiff and/or
10   members of the alleged classes of persons which Plaintiff purports to represent are precluded
11   from recovering any amounts from Defendants because Defendants have paid Plaintiff and/or
12   members of the alleged classes of persons which Plaintiff purport to represent, all sums legally
13   due under federal law, as applicable, and/or Plaintiff and/or any member of the alleged classes
14   which Plaintiff purports to represent has executed a compromise and release of any claims
15   asserted in this lawsuit and, accordingly, such claims are barred by the doctrines of compromise,
16   settlement, waiver, accord, satisfaction, set off, and/or release.
17                                         TWELFTH DEFENSE
18                                       (Failure To Perform Duties)
19           12.      As a separate defense to the Complaint, Defendants allege that the Complaint, and
20   each purported cause of action contained therein, is barred to the extent that Plaintiff and the
21   alleged classes of persons which Plaintiff purports to represent, failed to perform their respective
22   duties, failed to perform those duties which Defendants realistically expected each to perform,
23   failed to use ordinary care and diligence in the performance of their duties, failed to substantially
24   comply with the reasonable directions of their alleged employer, and/or failed to exercise a
25   reasonable degree of skill in performing their job duties.
26   ///
27   ///
28   ///


                                                                    DEFENDANTS’ ANSWER TO PLAINTIFF’S FIRST
                                                     -6-                             AMENDED COMPLAINT
                                                                                       09-CV-08061-CAS (JCX)
     OHS WEST:261343713.2
Case 1:11-cv-04395-JHR-JS Document 7 Filed 09/30/11 Page 8 of 12 PageID: 38

 1                                       THIRTEENTH DEFENSE
 2                                               (Good Faith)
 3           13.      As a separate defense to the Complaint, Defendants affirmatively plead that any
 4   act(s) and/or omissions(s) which may be found to be in violation of the rights afforded by federal
 5   law were not willful but occurred in good faith with reasonable grounds for believing that it was
 6   in full compliance with federal law, as applicable.
 7                                       FOURTEENTH DEFENSE
 8                     (Failure to State a Claim Regarding Damages, Costs and Fees)
 9           14.      As a separate defense to the Complaint, Defendants allege that the Complaint fails
10   to state a claim for which relief may be granted that provides for compensatory, consequential or
11   liquidated damages, or any other damages, costs or fees allowed by federal law, as applicable.
12                                         FIFTEENTH DEFENSE
13                                                  (Offset)
14           15.      As a separate defense to the Complaint and to each claim therein, Defendants
15   allege that if any damages have been sustained by Plaintiff or by any member of the alleged
16   classes of persons which Plaintiff purports to represent, although such is not admitted and is
17   specifically denied, Defendants are entitled by equity to offset all time Defendants voluntarily
18   paid for time not worked by Plaintiff and putative class members against any judgment that may
19   be entered against Defendants.
20                                         SIXTEENTH DEFENSE
21                                             (Unconstitutional)
22           16.      As a separate defense to the Complaint, adjudication of Plaintiff’s claims on a
23   class wide basis would violate Defendants’ right to due process and a jury trial and is barred by
24   the Rules Enabling Act.
25                                      SEVENTEENTH DEFENSE
26                                (Res Judicata and/or Collateral Estoppel)
27           17.      As a separate defense to the Complaint, Defendants allege that Plaintiff’s and/or
28   the alleged classes’ claims are barred by the doctrine of res judicata and/or collateral estoppel.


                                                                    DEFENDANTS’ ANSWER TO PLAINTIFF’S FIRST
                                                     -7-                             AMENDED COMPLAINT
                                                                                       09-CV-08061-CAS (JCX)
     OHS WEST:261343713.2
Case 1:11-cv-04395-JHR-JS Document 7 Filed 09/30/11 Page 9 of 12 PageID: 39

 1                                        EIGHTEENTH DEFENSE
 2                                             (Adequate Remedy)
 3           18.      As a separate defense to the Complaint, Defendants allege that Plaintiff’s and/or
 4   the alleged classes’ claims for equitable relief are barred because Plaintiff and/or the alleged class
 5   members have an adequate remedy at law for their claims.
 6                                        NINETEENTH DEFENSE
 7                                        (Wages Subject to Dispute)
 8           19.      As a separate defense to the Complaint, Plaintiff’s and some of the proposed class
 9   members’ claims are subject to disputes over wages.
10                                         TWENTIETH DEFENSE
11                                          (Not Unjustly Enriched)
12           20.      As a separate defense to the Complaint, Defendants were not unjustly enriched.
13                                       TWENTY-FIRST DEFENSE
14                          (Insufficient Facts for Injunctive or Equitable Relief)
15           21.      As a separate defense to the Complaint, Defendants allege that the Complaint fails
16   to allege facts sufficient to justify injunctive or other equitable relief.
17                                     TWENTY-SECOND DEFENSE
18                          (Non-Compensable Time Under Portal-to-Portal Act)
19           22.      As a separate defense to the Complaint, some or all of the disputed time is not
20   compensable pursuant to the Portal-to-Portal Act of 1947.
21                                      TWENTY-THIRD DEFENSE
22                                  (Timely Demand for Wages Payable)
23           23.      As a separate defense to the Complaint, Plaintiff and/or the proposed classes have
24   failed to timely make a demand in writing for wages due and payable.
25                                     TWENTY-FOURTH DEFENSE
26                                         (No Liquidated Damages)
27           24.      As a separate defense to the Complaint, Plaintiff and/or the proposed classes may
28   not recover liquidated damages because (1) Defendants acted at all times in good faith and did not


                                                                      DEFENDANTS’ ANSWER TO PLAINTIFF’S FIRST
                                                       -8-                             AMENDED COMPLAINT
                                                                                         09-CV-08061-CAS (JCX)
     OHS WEST:261343713.2
Case 1:11-cv-04395-JHR-JS Document 7 Filed 09/30/11 Page 10 of 12 PageID: 40

 1   commit any willful violation of the Fair Labor Standards Act or any other applicable laws; (2)
 2   Defendants did not authorize or ratify any such allegedly willful violation; and (3) Plaintiff has
 3   failed to state facts sufficient to support an award of such alleged damages against Defendants.
 4                                      TWENTY-FIFTH DEFENSE
 5                                 (No Recovery of Amounts Due and Paid)
 6           25.      As a separate defense to the Complaint, Plaintiff and/or the proposed classes are
 7   precluded from recovering any amounts from Defendants where Defendants have paid all sums
 8   legally due under the Fair Labor Standards Act.
 9                                      TWENTY-SIXTH DEFENSE
10                                         (Consent to Pay System)
11           26.      As a separate defense to the Complaint, the claims of Plaintiff and/or the proposed
12   classes are barred in whole or in part because Plaintiff and/or the proposed classes consented to
13   the pay system that is the subject of the Complaint.
14                                    TWENTY-SEVENTH DEFENSE
15                     (Defendants Not Agents, Employees and/or Servants, Masters
16                                      or Employers of Each Other)
17           27.      As a separate defense to the Complaint, Defendants are and were not agents,
18   employees and/or servants, masters or employers of each other.
19                                     TWENTY-EIGHTH DEFENSE
20                                    (Right to Assert Further Defenses)
21           28.      Defendants have insufficient knowledge or information on which to form a belief
22   as to whether they have any additional, as yet unstated, defenses available. Defendants reserve
23   the right to assert additional affirmative defenses.
24                                                 PRAYER
25           WHEREFORE, Defendants pray for the following relief:
26           1.       That the Complaint be dismissed with prejudice and that Plaintiff and the proposed
27   class take nothing thereby;
28           2.       That the purported class not be certified;


                                                                   DEFENDANTS’ ANSWER TO PLAINTIFF’S FIRST
                                                      -9-                           AMENDED COMPLAINT
                                                                                      09-CV-08061-CAS (JCX)
     OHS WEST:261343713.2
Case 1:11-cv-04395-JHR-JS Document 7 Filed 09/30/11 Page 11 of 12 PageID: 41

 1            3.      That judgment be entered in favor of Defendants on all claims and against
 2   Plaintiff;
 3            4.      That Defendants be awarded their attorneys’ fees and costs of suit; and
 4            5.      For such other and further relief as this Court may deem proper.
 5
 6   Dated:        September 30, 2011              PUTNEY, TWOMBLY, HALL & HIRSON LLP
                                                   ORRICK, HERRINGTON & SUTCLIFFE LLP
 7
 8
 9                                                                 /s/
                                                             Daniel F. Murphy, Jr.
10                                                          Attorneys for Defendants
                                                   BURLINGTON COAT FACTORY WAREHOUSE
11                                                    CORPORATION, BURLINGTON COAT
                                                   FACTORY INVESTMENT HOLDINGS, INC. and
12                                                  BURLINGTON COAT FACTORY HOLDINGS,
                                                                       INC.
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                                                                   DEFENDANTS’ ANSWER TO PLAINTIFF’S FIRST
                                                    - 10 -                          AMENDED COMPLAINT
                                                                                      09-CV-08061-CAS (JCX)
     OHS WEST:261343713.2
Case 1:11-cv-04395-JHR-JS Document 7 Filed 09/30/11 Page 12 of 12 PageID: 42

 1                                   CERTIFICATE OF SERVICE
 2           Daniel F. Murphy, Jr., an attorney admitted to practice law in the State of New Jersey and
 3   before this Court, hereby affirms that on September 30, 2011, he caused the foregoing
 4
     Defendants’ Answer to the Amended Complaint to be served via ECF filing upon the following:
 5
 6
                                   Seth R. Lesser
 7                                 Michael J. Palitz
 8                                 KLAFTER OLSEN & LESSER LLP
                                   Two International Drive, Suite 350
 9                                 Rye Brook, New York 10573

10   And by first class mail upon the following:
11                                 Michael A. Galpern
12                                 Andrew P. Bell
                                   LOCKS LAW FIRM, LLC
13                                 457 Haddonfield Road, Suite 500
                                   Cherry Hill, New Jersey 08002
14
15
                                                     /s Daniel F. Murphy, Jr.______
16                                                 Daniel F. Murphy, Jr.

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                                                                 DEFENDANTS’ ANSWER TO PLAINTIFF’S FIRST
                                                   - 11 -                         AMENDED COMPLAINT
                                                                                    09-CV-08061-CAS (JCX)
     OHS WEST:261343713.2
